
588 So.2d 101 (1991)
Huey P. MORRIS and Susie T. Morris
v.
PEOPLE'S BANK &amp; TRUST COMPANY OF NATCHITOCHES, LOUISIANA; People's Bancshares of Natchitoches, Inc.; Sam J. Friedman; Peter E. Cloutier, Jr.; Gary S. DeBlieux; Hertzog DeBlieux; Walter C. Jones; John A. Luster; G.F. Thomas, Jr.; Lovan B. Thomas; R. Stacy Williams; and Kenneth D. McCoy, Jr.
No. 91-C-1753.
Supreme Court of Louisiana.
November 1, 1991.
Denied.
